

People v DeJesus (2023 NY Slip Op 03417)





People v DeJesus


2023 NY Slip Op 03417


Decided on June 22, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 22, 2023

Before: Kern, J.P., Friedman, Mendez, Rodriguez, JJ. 


Ind No. 1691/17 Appeal No. 533 Case No. 2018-2424 

[*1]The People of the State of New York, Respondent,
vJonaivy DeJesus, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Laura Boyd of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Amir Khedmati of counsel), for respondent.



Judgment, Supreme Court, Bronx County (George R. Villegas, J.), rendered November 20, 2017, convicting defendant, upon his plea of guilty plea, of attempted robbery in the first degree, and sentencing him to a term of four years, unanimously affirmed.
Defendant made a valid waiver of his right to appeal (see People v Thomas, 34 NY3d 545, 564 [2019], cert denied 589 US &amp;mdash, 140 S Ct 2634 [2020]), which precludes review of his argument that the surcharge and fee imposed at sentencing should be vacated pursuant to CPL 420.35 (2-a) (see People v Jones, 208 AD3d 1135, 1136 [1st
Dept 2022], lv denied 39 NY3d 986 [2022]; People v Count C., 206 AD3d 496 [1st Dept 2022], lv denied 38 NY3d 1187 [2022]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 22, 2023








